      FOSS
  DECLARATION
    EXHIBIT 3




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               •              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY



NEWMARKET PHARMACEUTICALS,
LLC,

               •         Plaintiff,                     Civil Action No. 17-1852 (MAS) (TJB)

                         v.                                             ORDER

 VETPHARM, [NC., et al.,

                         Defendants.


        This matter comes before the Court upon Plaintiff NewMarket Pharmaceuticals, LLC’s

 (“NewMarket”) Renewed Application for an Order to Show Cause Why a Temporary Restraining

 Order and Preliminary Injunction Should Not be Entered. (ECF No. 39.) Defendants VetPharm,

 Inc. and Denni 0. Day (collectively, “VetPharm”) opposed and filed a Cross Motion to Dismiss.

 (ECF No. 60.) NewMarket replied, and opposed the Cross Motion to Dismiss, (ECF No. 66.)

 VetPharm replied, (ECF No. 68.) For the reasons set forth in the accompanying Memorandum

 Opinion, and other good cause shown,

        IT IS on this day of December, 2018 ORDERED that:

        1. NewMarket’s Renewed Application for an Order to Show Cause Why a Temporary

           Restraining Order and Preliminary Injunction Should Not be Entered (ECF No. 39) is

           DENIED.

        2. VetPharm’s Cross Motion to Dismiss (ECF No. 60) is DENIED without prejudice.

        3. The Court reinstates the stay pending the parties’ completion of arbitration pursuant to

           the Court’s April 5, 2017 Order compelling arbitration. (ECF No. 22.)

        4. The Parties shall return to arbitration by February 12, 2019.




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       5. VetPharm may renew its motion to dismiss if Newmarket fails to comply with the

           Court’s order requiring the parties to submit to arbitration within sixty days.

       6. The Memorandum Opinion shall be filed under seal. By December 26, 2018, the

           Parties shall file a Motion to Seal that complies with Local Civil Rule 5.3(c).’ If the

           parties fail to file a Motion to Seal, the Court will lift the seal.



                                                                M&SIPP
                                                                UNITED STATES DISTRICT JUDGE




‘The Motion to Seal should be made returnable before the magistrate judge in this matter.

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